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                            UNITED STATES BANKRUPTCY COURT
                                               Southern District of Georgia

In re:                                                                               Case No.: 15−60011−EJC
Linda F. Hill
       Debtor                                                                        Judge: Edward J. Coleman III
                                                                                     Chapter: 13
                                                 ORDER DISMISSING CASE
                                       FOR FAILURE TO COMPLY WITH COURT'S ORDER


The court, on its own motion and pursuant to §105 of the Bankruptcy Code, does hereby dismiss the captioned case by reason
of debtor's failure to comply with the court's order of June 1, 2017 .

All stays are lifted and creditors are at liberty to pursue their legal remedies.




                                                                     Edward J. Coleman III
                                                                     United States Bankruptcy Judge
                                                                     125 Bull St, Rm 213
                                                                     P.O. Box 8347
                                                                     Savannah, GA 31412
Dated August 11, 2017



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